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ALVAREZ BARBARA, LLP | NOV 25

November 20, 2014

Via U.S. Mail Facsimile 480-755-6999 and email Lorraine.botello@catlin.com
Lorraine Botello

Senior Claims Examiner

Catlin Specialty Insurance Co.

P.O. Box 8049

Scottsdale, AZ 85252

RE: Case Name : Marta Hernandez v. Publix Supermarkets
Our Client : Marta Hernandez
Date of Loss: 04/10/14
Your Insured: Commercial Douglas, LLC landlord for

Publix Supermarket
Your Claim No.: SCS-GL-140092
Our File No : 4777-0437-00

Dear Lorraine:

Please find enclosed a courtesy copy of the complaint that is in the process of
being filed in the above referenced claim. Please note that we included claims for
negligence, negligence per se, and violations of the Americans with Disabilities.

We have also asserted a claim for double damages pursuant to the Medicare
Secondary Payer act. As you no doubt know, and as stated in greater detail in the
enclosed complaint, 42 U.S.C. § 1395y(b)(2)(A) permits private causes of action to
recover for health care expenses paid by Medicare. The Medicare Secondary Payer
Act provides for payment of double damages, which in this case would total
$102,531.36. It also triggers a claim for attorney fees and costs.

With that said, please do not hesitate to contact our office should you wish to
discuss potential case resolution, Please note that we stand by our previous settlement
offer of $395,000.00.

Thank you in advance for your anticipated, and prompt cooperation in connection
with this claim. | look forward to hearing from you soon. In the interim, | remain

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IN THE CIRCUIT COURT OF THE
44th JUDICIAL CIRCUIT IN AND FOR
MIAMI-DADE COUNTY, FLORIDA

GENERAL JURISDICTION DIVISION
CASE NO.:
MARTA HERNANDEZ,
Plaintiff,
Vv.
PUBLIX SUPER MARKETS, INC., DOUGLAS
COMMERCIAL DOUGLAS, LLC., and CATLIN
SPECIALTY INSURANCE COMPANY,

Defendants.

/

Plaintiff MARTA HERNANDEZ (hereinafter “Pjaintiff’), by and through her
undersigned counsel, sues Defendants PUBLIX SUPER MARKETS, INC., a Florida
Corporation (hereinafter “Publix’), COMMERCIAL DOUGLAS, LLC, a Florida limited
liability company (hereinafter “CDLLC”), and CATLIN SPECIALTY INSURANCE cO.,a
Foreign Corporation (hereinafter “Catlin”) (collectively hereinafter “Defendants’), and

alleges as follows.

THE PARTIES AND JURISDICTION

4 This is an action for damages in excess of Fifteen Thousand ($15,000.00)

dollars of exclusive interest, costs and attorney's fees.

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2. At all times material hereto, the Plaintiff is/was a resident of Miami-Dade
County, Florida and is otherwise sui juris.

3 Publix is a Florida corporation, organized and existing under the laws of
Florida, qualified to do business in Florida, and has at all times material hereto been
conducting business in Miami-Dade County, Florida. Publix operates a business at
4500 South Douglas Road, Coral Gables, Florida 33134, referred to in the Complaint as
the Premises. Upon information and belief, Publix is the lessee, sub-lessee, lessor,
and/or operator of the real property and improvements that are the subject of this action.

4 CDLLC is a Florida corporation, organized and existing under the laws of
Florida, qualified to do business in Florida, and has at all times material hereto been
conducting business in Miami-Dade County, Florida. CDLLC is the owner and/or
operator of the Premises and improvements which the Premises is situated in and is the
subject of this action. CDLLC is the owner and/or operator of the Premises and
improvements which the Premises is situated in and is the subject of this action.

5. Catlin is a Foreign Corporation, which has at all times material hereto been
operating, conducting, engaging in, or carrying on a business or business venture in the
State of Florida or having an office or agency in the State of Florida.

6. Venue is proper in Miami-Dade County.

7. All conditions precedent to the filing of this lawsuit have occurred, been
waived, or been performed.

GENERAL ALLEGATIONS

8 Onor about April 10, 2014, Plaintiff suffered a fall at the Premises.

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9. Specifically, Plaintiff was visiting the Publix Super Market located at the
Premises when she sustained serious injuries as a result of a fall as a direct result of
the Defendants’ violation of the Americans with Disabilities Act (ADA) coupled with the
Defendants failure to provide adequate shopping carts.

40. The Defendant's violation of the ADA are documented in greater detail in the
attached report and said report is incorporated by reference into this complaint. See
Exhibit “A”.

41. Plaintiff intends to visit the Premises within six months, or sooner, [0
purchase goods irom the Publix Super Market located therein. Plaintiff intends on
visiting the Premises and Publix Super Market within the next (6) months, or sooner, as
soon as the Facility and Property become ADA compliant.

42. At all times material hereto, Plaintiff travelled to the Premises and Publix
Super Market as a customer, Plaintiff encountered numerous violations of the American
with Disabilities Act Accessibility Guidelines (“‘ADAAG") for New Construction in direct
violation of the ADA. See Exhibit “A’.

43. As a result of ADA’s violations, coupled with the Defendants failure to
provide a shopping cart that contained a braking mechanism that prevented the
shopping cart from running away from the Plaintiff as a result of the documented ADA
violations detailed in the attached Exhibit A, the Plaintiff suffered both physical and legal
harm and injury. The ADA violations created such a great slope that it was akin to
placing the shopping cart — a shopping cart with no breaking mechanism — at the top of

a hill and watching it roll down-hill uncontrollably.

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R DEFECTIVE PARKING LOT PUBLIX

COUNT I. DANGEROUS ©
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44. Plaintiffs, reado
et forth herein and further alleges:

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rface are of the parking lot at

the premises constituted 4

45. The ramp and the su

dangerous and/or defective condition of the premises. See Exhibit “A.
46. Publix had actual or construction notice of the dangerous and/or defective

condition.
public, including

Publix owed a duty to the

all times material hereto,
protect the public against any

17. At

n reasonably necessary to

Plaintiff, to remedy or take actio
nd/or defective conditions or the subject parking lot under its control,

and all dangerous 4
or constructive notice within a reasonable time of

h Publix had, either actual

of whic
acquiring notice of the condition and provide a shopping cart that contained proper
braking mechanisms.

o Plaintiff, Publix breached said

48. That notwithstanding Publix's duty owed ft

duty by:
\y adhere to the American Disabilities Act

(a) failing to properly
when constructing the subject parking lot where Plaintiff fell.

See Exhibit "A":
(b) failing to post and maintain warnings advising the public
of the dangerous condition of the subject parking lot,
including, but not limited to, the slope of the disabled parking
space where the incident occurred which did not comply with

ADAAG. See Exhibit “A”; and
tion strips or other

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(c) failing to pl
safeguards to make the subject parking lot sa

disabled public; and

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(d) failing to provide adequate and functioning shopping
carts with proper braking mechanisms.

WHEREFORE, Plaintiff MARTA HERNANDEZ, prays for damages for the
amount of the losses herein against Defendant PUBLIA SUPER MARKETS, INC., a
Florida Corporation, due to the subject loss and for attorney's fees, costs, prejudgment
interest and demands trial by jury of all issues S° triable as a matter of right.

COUNT II. DANGEROUS OR DEFECTIVE PARKING LOT (CDLLC)

49. Plaintiff, readopts and re-alleges Paragraphs one (1) through thirteen (13)
above as fully set forth herein and further alleges:

90. The ramp and the surface are of the parking lot at the premises constituted a
dangerous and/or defective condition of the premises.

94. CDLLC had actual or construction notice of the dangerous and/or defective
condition.

99, At all times material hereto, CDLLC owed a duty to the public, including
Plaintiff, to remedy or take action reasonably necessary to protect the public against any
and all dangerous and/or defective conditions or the subject parking lot under its control,
of which CDLLC had, either actual or constructive notice within a reasonable time of
acquiring notice of the condition.

23. That notwithstanding CDLLC’s duty owed to Plaintiff, CDLLC breached said
duty by:

(a) failing to properly adhere to the American Disabilities Act
when constructing the subject parking lot where Plaintiff fell.
See Exhibit “A

(b) failing to post and maintain warnings advising the public

of the dangerous condition of the subject parking lot,
including, but not limited to, the slope of the disabled parking

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space where the incident occurred wh

ADAAG. See Exhibit “A” and

(c) failing to place,
safeguards to make the subject pa
disabled public; and

to provide adequate and
braking mechanisms

(d) failing
carts with proper

WHEREFORE, Plaintiff MARTA HERNAN
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Florida limited liabilit

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COUNT Ill. ORDINARY NEG

among other things, fricti

y company, due to the subject loss and

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CASE NO.:

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DEZ, prays for damages for the

Defendant COMMERCIAL DOUGLAS, LLC, a

for attorney's fees, costs,

all issues SO triable as a matter of

SUMPTION OF NEGLIGENCE —

NEGLIGENC PER

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(PUBLIX)

24. Plainti

above as fully set forth herein and further alleges:

95. Publix owed a duty of care to all

its premises in a reasonably safe condition, t

actual condition and to warn business invitees of
knew or should have known.

96. Notwithstanding this duty

negligent acts and omissions:

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in a dangerous condition

(a) neglige
parking lot
creation of

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4 hazardous disabled parking space,

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(b) negligently, carelessly, and recklessly constructed the
subject parking lot in such a manner when Publix Knew oF
should have known that the subject parking lot did not
comply with ADAAG, therefore violating the ADA;

(c) negligently, carelessly, and recklessly allowed a disabled
parking space {0 be used so as to endanger those disabled
persons carefully and lawfully using the subject disabled
parking space, including the Plaintiff;

(d) negligently, carelessly, and recklessly failed to provide
disabled persons, including Plaintiff, a reasonable and safe
means of access tO and from its store,

(e) negligently, carelessly, and recklessly failed to secure
said disabled parking space which exceeded the 1:48 (2.1%)
max slope and cross-slope allowance pursuant to the 2010
ADAAG standards (see Exhibit “A’);

(f) negligently, carelessly, and recklessly failed to warn
persons, including Plaintiff, that the subject disabled parking
space did not meet ADAAG guidelines and was a dangerous
and hazardous condition; and

(g) failing to provide adequate and functioning shopping
carts with proper braking mechanisms.

97. Publix violated local ordinance, statute, rules, regulations and codes,
(including the American with Disabilities Act and the Federal Americans with Disability
Guidelines), which constitutes a presumption of negligence per se and/or strict liability.
See Exhibit “A”.

98. As a direct and proximate cause of the negligent acts and omissions of
Publix, including those alleged herein, Plaintiff fell on the subject disabled parking
space.

99. Plaintiff has sustained severe and permanent personal injuries to her entire
body as a direct result of the fall, including, but not limited to injuries to her left knee,

back, head, left shoulder, left arm, humerus fracture, etc. These injuries have caused

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ALVAREZ BARBARA, LLP

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Plaintiff to suffer a great amount of pain, disability, loss of earning (past, present, and
future), loss of future earning capacity, medical, and other expenses.

WHEREFORE, Plaintiff MARTA HERNANDEZ, prays for damages for the
amount of the losses herein against Defendant PUBLIX SUPER MARKETS, INC., a
Florida Corporation, due to the subject loss and for attorney's fees, costs, prejudgment
interest and demands trial by jury of all issues so triable as a matter of right.

COUNT IV. ORDINARY NEGLIGENCE AND PRESUMPTION OF NEGLIGENCE —
NEGLIGENCE PER SE

(CDLLC)

30. Plaintiff, readopts and re-alleges Paragraphs one (1) through thirteen (13)

above as fully set forth herein and further alleges:

31. CDLLC owed a duty of care to all invitees, including Plaintiff, by maintaining
its premises In 4 reasonably safe condition, to inspect the premises as to ascertain its
actual condition and to warn business invitees of latent dangers of which CDLLC knew
or should have known.

32. Notwithstanding this duty to all invitees, CDLLC committed the following
negligent acts and omissions:

(a) negligently, carelessly, and recklessly maintained said
parking lot in a dangerous condition which constituted the
creation of a hazardous disabled parking Space.

(b) negligently, carelessly, and recklessly constructed the
subject parking lot in such a manner when CDLLC knew or
should have known that the subject parking lot did not
comply with ADAAG, therefore violating the ADA;

(c) negligently, carelessly, and recklessly allowed a disabled
parking space to be used so as to endanger those disabled

persons carefully and lawfully using the subject disabled
parking space, including the Plaintiff,

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(d) negligently, carelessly, and recklessly failed to provide
disabled persons, including Plaintiff, a reasonable and safe
means of access to and from its store,
(e) negligently, carelessly, and recklessly failed to secure
said disabled parking space which exceeded the 4:48 (2.1%)
max slope and cross-slope allowance pursuant to the 2010
ADAAG standards (see Exhibit “A"); and
(f) negligently, carelessly, and recklessly failed to waln
persons, including Plaintiff, that the subject disabled parking
space did not meet ADAAG guidelines and was 4 dangerous
and hazardous condition; and
(gq) failing to provide adequate and functioning shopping
carts with proper braking mechanisms.

33. CDLLC violated local ordinance, statute, rules, regulations and codes,
(including the American with Disabilities Act and the Federal Americans with Disability
Guidelines), which constitutes a presumption of negligence per Se and/or strict liability.
See Exhibit re

34 As a direct and proximate cause of the negligent acts and omissions of
CDLLC, including those alleged herein, Plaintiff fell on the subject disabled parking
space.

35. Plaintiff has sustained severe and permanent personal injuries to her entire
body as a direct result of the fall, including, but not limited to injuries to her left knee,
back, head, left shoulder, left arm, humerus fracture, etc. These injuries have caused
Plaintiff to suffer a great amount of pain, disability, loss of earning (past, present, and
future), loss of future earning capacity, medical, and other expenses.

WHEREFORE, Plaintiff MARTA HERNANDEZ, prays for damages for the
amount of the losses herein against Defendant COMMERCIAL DOUGLAS, LLC, a

Florida limited liability company, due to the subject loss and for attorney's fees, costs,

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prejudgment interest and demands trial by jury of all issues SO triable as 4 matter of
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COUNT V. NUISANCE PER SE
(PUBLIX)
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36, Plaintiff, readopts and re-alleges Paragraphs one (1) through thi

orth herein and further alleges:

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37. At all times alleged h
bled parking spaces in an unreasonably dangerous and defective

lot. including the disa

manner.

3g, Asa result of the subject disabled parking spaces inherently dangerous
condition, regardless of or the extent of the due care afforded by Publix by allowing the
arking space to exist, constituted 4 nuisance per Se-

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39. As adir
per se, 4 dangerous disabled parking space was create sing
a injuries listed herein.

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WHEREFORE, Plaintiff MA
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COUNT VI. NUIS
(CDLLC)

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40. Plaintiff, readopts and re-alle ) through thirteen (13)
and further alleges:

above as fully set forth herein

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41. At all times alleged herein, CDLLC knowingly maintained the subject parking
lot, including the disabled parking spaces in an unreasonably dangerous and defective
manner.

42. As a result of the subject disabled parking spaces’ inherently dangerous
condition, regardless of or the extent of the due care afforded by CDLLC by allowing the
dangerous subject disabled parking space to exist, constituted a nuisance per se.

43. As a direct and proximate result of CDLLC’s failure to eliminate the nuisance
per se, a dangerous disabled parking space was created and left to exist, causing
Plaintiff to slip and fall and suffer severe persona injuries listed herein.

WHEREFORE, Plaintiff MARTA HERNANDEZ, prays for damages for the
amount of the losses herein against Defendant COMMERCIAL DOUGLAS, LLC, a
Florida limited liability company, due to the subject loss and for attorney's fees, costs,
prejudgment interest and demands trial by jury of all issues so triable as a matter of
right.

COUNT VII. VIOLATION OF ADA (PUBLIX)

44. Plaintiff, readopts and re-alleges Paragraphs one (1) through thirteen (13)
above as fully set forth herein and further alleges:
45. On or about July 26, 4990, Congress enacted the ADA. 42 U.S.C.
§12101, ef seq.
46.  Atthe time, Congress found, among other things, that:
(a) some 43 million Americans have one or more physical or
mental disabilities, and this number is increasing as the

population as a whole is growing older;

(b) historically, society has tended to isolate and segregate
individuals = with disabilities, and, despite some

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improvements, such forms of discrimination against
individuals with disabilities continue to be a serious and
pervasive social problem;

(c) discrimination against individuals with disabilities persists
in such critical areas, such as employment, housing public
accommodations, education, transportation, communication,
recreation, institutionalization, health services, voting, and
access to public services;

(d) individuals with disabilities continually encounter various
forms of discrimination, including outright intentional
exclusion, the discriminatory effects of architectural,
transportation, and communication barriers, overprotective
rules and policies, failure to make modifications to existing
facilities and practices, exclusionary qualification standards
and criteria, segregation, and relegation to lesser service,
programs, activities, benefits, jobs, OF other opportunities;
and

(e) the continuing existence of unfair and unnecessaly
discrimination and prejudice denies people with disabilities
the opportunity to compete on an equal basis and to pursue
those opportunities for which our free society is justifiably
famous, and costs the United States billions dollars in
unnecessary expenses resulting from dependency and non
productivity.

42 U.S.C. § 12104(a)(1) — (3), (5), and (9).

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Congress explicitly stated that the purpose of the ADA was to:

(a) provide a clear and comprehensive national mandate for
the elimination of discrimination against individuals with
disabilities;

(b) provide a clear, strong, consistent, enforceable standards
addressing discrimination against individuals with disabilities;
and

(c) invoke the sweep of congressional authority, including
the power to enforce the 44% Amendment and to regulate
commerce, in order to address the major areas of
discrimination faced day-to-day by people with disabilities.

42 U.S.C. § 12101(b)(1)(2), and (4).

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48. The Premises must be, but it is not, in compliance with the ADA and
ADAAG. The Publix Super Market must be, but it is not, in compliance with the ADA
and ADAAG.

49, Plaintiff has attempted to and has, to the extent possible, accessed the
Premises and the Publix Super Market in her capacity as a customer of the Publix
Super Market and Premises, but could not fully do so because of the dangerous
conditions and ADA violations more specifically set forth herein and incorporated herein
by referenced as per the attached documents. See Exhibit A.

50, Publix has discriminated against Plaintiff, and others with disabilities, by
denying access 10, and full and equal enjoyment of the goods, services, facilities,
privileges, advantages, and/or accommodations of the Facility and Property, as
prohibited by, and 42 U.S.C. §12182 (b)(2)(A)(iv), and will continue to discriminate
against Plaintiff and others with disabilities unless and until Publix and CDLLC are
compelled to make the Publix Super Market and Premises accessible to and usable by
persons with disabilities, including Plaintiff. See Exhibit “A”.

51. Publix has discriminated against Plaintiff by failing to comply with the
above requirements. A specific, although not exclusive, list of unlawful physical
barriers, dangerous conditions, ADA violations which Plaintiff experienced and/or
observed and preclude and/or limit Plaintiff's ability (because of her disability) to access
the Publix Super Market and Premises and/or full and equal enjoyment of the goods,
services, facilities, privileges, advantages, and/or accommodations of the Publix Super
Market and Premises, include:

ACCESSIBLE ELEMENTS

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(a) “The cross-slope of the disabled parking spaces where
the incident occurred exceeds max 1:48 (2.1%). Current
cross-slope is 3.4 to 3.7%. See Exhibit “A” and Photos No.
4-4, and 9 attached to Exhibit “A’.

(b) “The slope of the disabled parking space where the
incident occurred exceeds max 4:48 (2.1%). Current slope
is 3.4%.” See Exhibit “A" and Photo No. 5 attached to
Exhibit “A”.

(c) “The curb ramp at the entrance to the [Publix]
supermarket that services the disabled parking spaces
exceeds max 1:12 (8.33%). Current slope is 10.3%.” See
Exhibit “A” and Photos No. 6-7 attached to Exhibit “A’.

(d) “The disabled parking spaces are not located on the
shortest path of travel to the accessible [Publix] supermarket
entrance. Many of the disabled parking spaces could be
located on the south side of the parking row, being much
closer to the accessible entrance (even though accessible
entrance is currently serviced via a non-compliant curb
ramp.” See Exhibit “A” and Photo No. 8 attached to Exhibit
“AY.

(e) There is currently no accessible route (path of travel)
from the public sidewalk to the main accessible supermarket
entrance... [he only current route is through the parking
garage into oncoming traffic.” See Exhibit “A” and Photos
No, 10-14 attached to Exhibit “A”.

52. The above listing is not to be considered all-inclusive of the conditions oF

violations encountered by Plaintiff and/or which exist at the Publix Super Market and

Premises. Plaintiff will require an inspection(s) of the Publix Supermarket and Premises

to determine all of the discriminatory acts violating the ADA.

53. All of the above violations are readily achievable to modify in order to bring

the Publix Super Market and Premises into compliance with the ADA.

54. The removal of the violations and dangerous conditions at the Publix

Super Market and on the Premises is readily achievable because the nature and cost of

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ALWAREZ BARBARA, LLP

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CASE NO.:

the modifications are relatively low and Publix has the financial resources to make the
necessary modifications.

55. Upon information and belief, the Property is a newly constructed place of
public accommodation and commercial facility and therefore subject to the 2010
ADAAG. See Exhibit "A’. 28 C.F.R. § 36.401; 36.406.

56. Plaintiff has attempted to gain access to the Publix Super Market and
Premises in his capacity as a customer, but because of her disability has been denied
access to, and has been denied the benefit of services, programs, and activities of the
Publix Super Market and Premises, and has otherwise been discriminated against and
damaged by Publix because of the ADA violations and dangerous conditions set forth
above and in the attached Exhibit “A”, and expects to be discriminated against in the
near future by Publix because of Plaintiff's disabilities, unless and until Publix is
compelled to comply with the ADA and ADAAG.

57. The ADA violations and dangerous conditions set forth herein are readily
achievable and can be accomplished without much difficult or expense. 42 U.S.C. §
42182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

58. Plaintiff is without an adequate remedy at law, suffering irreparable harm,
and reasonably anticipates that she will continue to suffer irreparable harm unless and
until Publix is required to comply with the ADA and ADAAG guidelines for the violations
that exist at the Publix Super Market and Premises. The relief requested serves the
public interest and the benefit to Plaintiff and the public far outweigh any detriment to

Publix.

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CASE NO.:

Plaintiff has been obligated to retain the undersigned cou nsel for the filing

and prosecution of this action, and has agreed to pay the undersigned reasonable

attorneys’ fees, costs, and expenses from Publix pursuant to 42 U.S.C. § § 12205 and

42117.

60.

Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including an order to alter the subject Publix Super Market

and Premises to make it readily accessible to and useable by individuals with disabilities

to the extent required by the ADA.

WHEREFORE, Plaintiff, MARTA HERNANDEZ, respectfully requests that this

Court issue a permanent injunction enjoining PUBLIX SUPER MARKET, INC., from

continuing their discriminatory practices, ordering Publix to come into compliance and

make the Publix Super Market readily accessible to and useable by individuals with

disabilities to the extent required by the ADA, and award Plaintiff her reasonable

attorneys fees, litigation expenses, and costs.

61.

COUNT VII VIOLATION OF ADA (CDLLC)

Plaintiff, readopts and re-alleges Paragraphs one (1) through thirteen (13)

above as fully set forth herein and further alleges:

62.

On or about July 26, 4990, Congress enacted the ADA. 42 U.S.C.

§12101, et seq.

63.

Atthe time, Congress found, among other things, that:

(a) some 43 million Americans have one oF more physical or
mental disabilities, and this number is increasing as the
population as a whole is growing older;

(b) historically, society has tended to isolate and segregate
individuals with disabilities, and, despite some

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improvements, such forms of
individuals with disabilities continue to b
pervasive social problem,

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(c) discrimination against individuals
in such critical areas, such as employment,
accommodations, education, transpo
recreation, institutiona
access to public services:
(d) individuals with disabilitie
forms of discrimination,
exclusion, the discriminatory effects
transportation, and communication
rules and policies,
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the opportunity to compete on an eq
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famous, and costs the United States bill
unnecessary expenses res
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people

42 USC. § 12104(a)(1) — (3), (8), and (9).

64.  Gongress explicitly stated that the purpose of
ehensive natio

of discrimina

(a) provide a clear and compr
the elimination

disabilities;

(

addressing
and

(c)

b) provide a clear, strong,

discrimination against individuals

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the power to enforce the 14% Amendment
commerce, in order to address
discrimination faced day-to-day by peo

42US.C.§ 42101(b)(1)(2), and (4).

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consistent, enforceable standards

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65. The Premises must be, but it is not, in compliance with the ADA and
ADAAG. The Publix Super Market must be, but it is not, in compliance with the ADA
and ADAAG.

66. Plaintiff has attempted to and has, to the extent possible, accessed the
Premises and the Publix Super Market in her capacity as a customer of the Publix
Super Market and Premises, but could not fully do so because of his disabilities due to
the dangerous conditions and ADA violations that exist at the Publix Super Market and
Premises that preclude and/or limit his access to the Facility and Property and/or the
goods, services, facilities, privileges, advantages, and/or accommodations offered
therein, including those dangerous conditions and ADA violations more specifically set
forth herein.

67. CDLLC has discriminated against Plaintiff and others with disabilities, by
denying access fo, and full and equal enjoyment of the goods, services, facilities,
privileges, advantages, and/or accommodations of the Facility and Property, as
prohibited by, and 42 U.S.C. §12182 (b)(2)(A)iv), and will continue to discriminate
against Plaintiff and others with disabilities unless and until Public and CDLLC are
compelled to make the Publix Super Market and Premises accessible to and usable by
persons with disabilities, including Plaintiff. See Exhibit “A’.

68. CDLLC has discriminated against Plaintiff by failing to comply with the
above requirements. A specific, although not exclusive, list of unlawful physical
barriers, dangerous conditions, ADA violations which Plaintiff experienced and/or
observed and preclude and/or limit Plaintiff's ability (because of his disability) to access

the Publix Super Market and Premises and/or full and equal enjoyment of the goods,

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services, facilities, privileges, advantages, and/or accommo

Market and Premises, include:

ACCESSIBLE ELEMENTS

(a)
the incident
cross-slope
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hed to Exhibit mA".

“The slope of the
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(b)

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disabled parking

ds max 1:48 (2.1%).

is 3.4%. See Exhibit "A" and Photo N
Exhibit “A’.
(c) “The curb ramp at the entrance to

that services the disabled
4:12 (8.33%). Curre

supermarket
exceeds max

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CASE NO.:

dations of the Publix Super

e of the disabled parking spaces where
occurred exceeds max 4:48 (2.1%).
and Photos No.

Current

space where the

Current slope

o. 5 attached to

the [Publix]

parking spaces

40.3%.” See

Exhibit “A” and Photos No. 6-7 attached to Exhibit “A”.

(ad) “The disabled parking spaces are Nn
shortest path ot travel to the ac
entrance. Many of
located on the south side of
closer to the acce
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ramp.” See Exhibit
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esible entrance

“A” and

(e) There is currently
from the publ

entrance .. - The only current route is
garage into oncoming traffic.” See Exhib
No. 10-14 attached to Exhibit “A’.

69. The above listing is not to be considered all-

violations encountered by Plain

Premises. Plaintiff will require an inspection(s) of the Publix

to determine all of the discriminatory acts violating the ADA.

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Photo No. 8 attached to Exhibit

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tiff and/or which exist at the Publix Super Market and

Supermarket and Premises

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70.  Allofthe above violations are readily achievable to modify in order to bring
the Publix Super Market and Premises into compliance with the ADA.

74. The removal of the violations and dangerous conditions at the Publix
Super Market and on the Premises is readily achievable because the nature and cost of
the modifications are relatively low and CDLLC has the financial resources to make the
necessary modifications.

72. Upon information and belief, the Property is a newly constructed place of
public accommodation and commercial facility and therefore subject to the 2010
ADAAG. See Exhibit “A”. 28 C.F.R. § 36.401; 36.406.

73. Plaintiff has attempted to gain access to the Publix Super Market and
Premises in his capacity as a customer, but because of his disability has been denied
access to, and has been denied the benefit of services, programs, and activities of the
Publix Super Market and Premises, and has otherwise been discriminated against and
damaged by CDLLC because of the ADA violations and dangerous conditions set forth
above and in the attached Exhibit “A”, and expects to be discriminated against in the
near future by CDLLC because of Plaintiffs disabilities, unless and until CDLLC is
compelled to comply with the ADA and ADAAG.

74. The ADA violations and dangerous conditions set forth herein are readily
achievable and can be accomplished without much difficult or expense. 42 U.S.C. §
42182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

75.  Plaintiffis without an adequate remedy at law, suffering irreparable harm.
and reasonably anticipates that he will continue to suffer irreparable harm unless and

until CDLLC Is required to comply with the ADA and ADAAG guidelines for the

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violations that exist at the Publix Super Market and Premises. The relief requested
serves the public interest and the benefit to Plaintiff and the public far outweigh any
detriment to CDLLC.

76. Plaintiff has been obligated to retain the undersigned counsel for the filing
and prosecution of this action, and has agreed to pay the undersigned reasonable
attorneys’ fees, costs, and expenses from CDLLC pursuant to 42 U.S.C. § § 12205 and
12117.

77. Pursuant to 42US.C.§ 42188(a), this Court is provided authority to grant
injunctive relief to Plaintiff, including an order to alter the subject Publix Super Market
and Premises to make it readily accessible to and useable by individuals with disabilities
to the extent required by the ADA.

WHEREFORE, Plaintiff respectfully requests that this Court issue a permanent
injunction enjoining COMMERCIAL DOUGLAS, LLC, a Florida limited liability company,
from continuing their discriminatory practices, ordering CDLLC to come into compliance
and make the Publix Super Market readily accessible to and useable by individuals with
disabilities to the extent required by the ADA. and award Plaintiff her reasonable
attorneys’ fees, litigation expenses, and costs.

COUNT IX. CLAIM AGAINST CATLIN SPECIALTY INSURANCE COMPANY
FOR MEDPAY BENEFITS

78. Plaintiff, readopts and re-alleges Paragraphs one (1) through thirteen (13)
above as fully set forth herein and further alleges:
79. The Plaintiff has incurred medical bills in excess of the $5,000.00 in available

“medpay” expenses as a result of the subject incident.

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80. These medical bills were incurred from numerous medical providers related
to this incident.

81. No payment has been received from either named Defendant for
such medpay benefits, or said medpay benefits were tendered over to the Plaintiff
beyond the time allotted by law, which in turn resulted in damages to Plaintiff.

82. That the Plaintiff is an intended third party beneficiary of the subject contract,
which is designed to compensate third parties for medical expenses. Plaintiff's counsel
requested payment of the medpay benefits on June 20, 2014. See attached Exhibit B.
Sixty days elapsed and no med pay was tendered. As of the date of the filing of this
lawsuit, Medpay benefits have not been tendered.

83. Sixty days have elapsed and no med pay was tendered. As of the date of
the filing of this lawsull, Medpay benefits have not been tendered.

84. The Plaintiff is entitled to attorney fees and costs given that the Defendants
have refused to tender to medpay benefits, and failed to timely pay med pay benefits.
The Plaintiff is entitled to fees and costs under Fla. Stat. §627.428 and/or other statutory
provisions, as this claim falls under the wording of §627.428.

WHEREFORE, Plaintiff. MARTA HERNANDEZ, demands payment for incurred
medical payments under the Medpay provision of the subject liability policy, and/or
damages resulting from Defendant's CATLIN SPECIALTY INSURANCE COMPANY
late tender of the medical payments under the Medpay provision of the subject liability
policy, plus attorneys’ fees, costs and interest and further demands trial by jury.
Courtesy copy of the Complaint has been sent to claims representative, Lorraine

Botello, via email at Lorraine .botello@cailin.com.

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COUNT X. = PRIVATE CAUSE OF ACTION FOR DOUBLE DAMAGES PURSUANT
TO THE MEDICARE SECONDARY PAYOR ACT

85. Plaintiff, readopts and re-alleges Paragraphs one (1) through thirteen (13)
above as fully set forth herein and further alleges:

86. In 1980, while confronted with skyrocketing Medicare costs, Congress
recognized that those responsible for ihe payment of medical costs when people were
injured (i.e. employers and liability insurers) often allowed Medicare to pay the medical
bills as the “primary payer when an employee or a tort victim was older than 65. In
order to curtail this practice, Congress enacted the Medicare as Secondary Payer Act
(“MSP”), which made liability insurers and self-insured tortfeasors responsible as the
“primary” payers of [an] injured persons’ medical costs.” 42 U.S.C. § 1395y(b)(2)(A).

87. The underlying intent behind the enactment of the MSP was to shift the
financial burden of health care from the Medicare program to private insurers in order to
lower the cost of the Medicare program.

88. Congress “established a private cause of action for damages (which shall be
in an amount double the amount otherwise provided) in the case of a primary plan
which fails to provide for primary payment (or appropriate reimbursement)” in accordance
with Section 4395y(b)(3)(A) of the MSP.

89, Under the MSP, private parties who are aware of non-payment by primary
plans can bring an action to enforce Medicare’s rights against the primary plan with double
recovery. 42 U.S.C. § 4395y(b)(3)(A).

90. Therefore, the Plaintiff brings this action under the private cause of action for

damages provision of the MSP seeking to recover for the Medicare program all the

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expenditures made on the Plaintiffs behalf for health care services rendered to the
Plaintiff for the treatment of injuries she sustained as a result of the subject accident.

91. The MSP's function is straightforward — to relieve Medicare from making
payment for covered services if such payment has been or could reasonably be
expected to be made by someone else, called the “primary payer” or the “orimary plan.

92. Plaintiff was a Medicare recipient at the time of the subject accident.

93. Medicare paid approximately $51,265.68 for the treatment of the Plaintiffs
injuries, and said expenses Were reasonably related to the injuries. See attached
Exhibit C. In accordance with the charges allowed, the Plaintiff seeks to charge the
Defendants for the medical expenses and services resulting from the injuries sustained
by the Plaintiff in her accident on April 10, 2014.

94, Plaintiff brings this action under the private cause of action established by 42
U.S.C. §1395y(b)(3)(A) to recover from Defendants, double damages for their failure to
pay as primary OF to make the appropriate reimbursement.

95. Under the private cause of action established by 42 U.S.C. §1 395y(b)(3)(A),
Plaintiff is entitled to recover “an amount double the amount otherwise provided.” Plaintiff
is therefore entitled to payments of Medicare benefits in the amount of $51 265.68, and Is
entitled to recover double that amount from the Defendants, which would total
$102,531.36.

96. The Defendants have failed to reimburse the $51 265.68 for medical expenses
incurred are the Plaintiff is now entitled to double damages. The demand letter was sent

and the Defendants rejected the demand. See attached Exhibit D.

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97. Despite being a primary payer, the Defendants have not paid for, or in any other
way provided for primary payment of these costs of the health care services provided to
the Plaintiff in violation of the MSP.

98. Due to the Defendants’ wrongful conduct, Medicare became the primary payer
for the costs of the treatment of the Plaintiffs accident related injuries In violation of the
MSP.

99. As a result, under the private cause of action provision of the MSP, damages
from the Defendants should be awarded In an amount twice that of Medicare’s payments
for the costs of the health care services provided to the Plaintiff to treat her accident
related injuries.

WHEREFORE, Plaintiff, demands judgment against the named Defendanis for
double damages, reasonable attorney's fees, court costs, interests, and such other and
further relief as this Court deems just and proper.

Dated this __— day of November, 2014.

ALVAREZ BARBARA, LEP
Counsel for Plaintiff

1750 Coral Way

Second Floor

Miami, FL 33145
Tel: (305) 263-7700

Fax: (305) 263-7699 ae
halvarez@alvarezbarbara, m

By:

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Business: Alvarez & Barbara, LLP
1750 Coral Way, 2nd Floor
Miami, FL33145

Property Address: Publix Supermarket
1500 South Douglas Rd.
Coral Gables, FL 33134

Contact: Hugo Alvarez, Esq.

Inspection Date: October 4, 2014

NEW CONSTRUCTION

Il-5.0000 NEW CONSTRUCTION
Regulatory references: 28 CFR 36.401; 36.406; Appendix A.

i1I-5.1000 General. All newly constructed places of public accommodation and commercial facilities
must be readily accessible to and usable by individuals with disabilities to the extent that itis not
structurally impracticable. This requirement, along with the requirement for accessible alterations,
are the only requirements that apply to commercial facilities.

What is "readily accessible and usable"? This means that facilities must be built in strict compliance
with the Americans with Disabilities Act Accessibility Guidelines (ADAAG). There is no cost defense to
the new construction requirements.

What buildings are covered? The new construction requirements apply to any facility first occupied
after January 26, 1993, for which the last application for a building permit or permit extension is
certified as complete after January 26, 1992; or in those jurisdictions where the government does not
certify completion of applications, the date that the last application for a building permit or permit
extension is received by the government.

P.O. Box 416522 « Miami Beach, FL 33141 « Telephone: (305) 898-6330 » Fax: (305) 253-7734
www AdaComplianc @hotmail.com

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What if a building is occupied before January 76, 1993? It is not covered by the title II new
construction requirements.

What does" structurally ‘mpracticable” mean? The phrase "structurally impracticable" means that
unique characteristics of the land prevent the incorporation of accessibility features ina facility. In
such a case, the new construction requirements apply, except where the private entity can
demonstrate that it is structurally impracticable to meet those requirements. This exception is Very
narrow and should not be used in cases of merely hilly terrain. The Department expects that it will be
used in only rare and unusual circumstances:

Even in those circumstances where the exception applies, portions of a facility that can be made
accessible must still be made accessible. In addition, access should be provided for individuals with
other types of disabilities, even if it may be structurally impracticable to provide access tO individuals

who use wheelchairs.

| “BACKGROUND ____———

This expert was retained to inspect the parking lot of the Publix supermarket located at 4500 South
Douglas Road in Coral Gables, FLt9 determine compliance with the 2010 standards of the ADAAG
(2010 Standards for Accessible Design) in relation to an accident regarding @ personal injury claim:
This Publix was constructed after 1992 thus subject to the new construction standards of the ADA
with the 2010 ADAAG being the most current standards (requirements).

INSPECTION |

On the day of the inspection, this expert, utilizing 4 calibrated digital level and standard tape
measure, identified the following non-compliance regarding the parking lot (especially pertaining to
the area where the accident occurred):

4, The cross-SlOpe of the disable j i ed exceeds mex 1:48

_ Current cross-S|Ope is

#See code section "A" for applicable codes and figures

3. The slope of the disabled arking space where the accident occurred exceeds max 1:48 2.150).

Current slope is 3.4%. (See photo #5)

see code section "A" for applicable codes and figures

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3. The curb ramp at the entrance to the supermarket that services the disabled parking spaces
exceeds max 1:12 (8.33%). Current slope is 10.3%. (See photo #6, 7)

4. The disabled parking s

*see code section "B" for applicable codes and figures

paces are not located on the shortest path of travel to the accessible

supermarket entrance. Many of the disabled arking spaces could be located on the south
side of the parking row, being much closer to the accessible entrance (even though accessible

entrance is currently serviced via a non-compliant curb ra

mp), (See photo #8)

*cee code section "A" for applicable codes and figures

5, There is currently no accessible route (path of travel) from the public sidewalk to the main

ac

cessible supermarket entrance. This is required, especi

ally as there is a bus stop that

services persons with disabilities east of the supermarket. The only current route Is through
the parking garage into oncoming traffic. (See photo #10, 11, 12, 13,14)

*see code section "C" for applicable codes and figures

. eS

There are
especially

CONCLUSION

several areas of the parking lot that do not comply with the 2010 ADAAG standards,

where the accident occurred. The main issue is the slo

pe and cross-slope of the disabled

parking spaces exceeding the 1:48 (2.1%) max slope and cross-slope allowance. When the disabled
parking space is not level to max 1:48 (2.1%), it creates 2 hazard.
opinion that ADA non-compliance where the accident occurred contributed to the customer's

accident (

falling down on to the asphalt).

in this case, it is this expert's

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where accident occ urred

Cross-slope of disabled parking space

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Cross-slope of disabled p

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fee
Slope of disabled parking space W

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entrance to store

Non-compliant slope of curb ramp at

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Non-compliant slope of c

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South side of parking row where disabled parkin

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Picture showing digabled parking spaces on slope

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Picture showing isabled pa

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CODES & FIGURES

SECTION A:

208.3.1- FACBC General. Designated accessible spaces shall be designed and morked for the exclusive use of
those individuals who hove a severe physical disability and have permanent or temporary mobility problems that
substantially impair th eir ability to ambulate and who have been issued either a disabled parking permit under s.
316.1958 ors. 320.0848 or a license plate under s. 320,084, s. 320.0842, 5. 370.0843, ors. 320.0845. Parking
spaces complying with 502 thot serve a particular building or facility shall be located on the shortest accessible
route fram parking to an entrance complying with 206.4. All spaces must be located on on accessible route that is
at feast 44 Inches (1118 mm ) wide and so that users are not compelled to walk or wheel behind parked vehicles
except behind his or her own vehicle. Where po rking serves more than one accessible entrance, porking spaces
complying with 502 shall be dispersed and located on the shortest accessible route to the accessible entrances. If
there ore multiple entrances for multiple retail stores the parking spaces must be dispersed to provide parking at
the nearest accessible entrance. in parking facilities that do not serve a particular building or facility, parking
spaces complying with 502 sholl be located on the shortest accessible route fo. an accessible pedestrian entrance
of the parking facility.

502.1 FACBC - General. Car and van parking spaces shall comply with 502. Where parking spaces are marked
with lines, width measurements of parking spaces and access aisles shall be made from the centerline of the
markings. EXCEPTION: Where parking spaces or @CCEss gisles ore not adjacent ta another parking space or access
gisle, measurements shall be permitted to include the full width af the line defining the parking space or access
aisle.

502.2 FACBC - Vehicle Spaces. Each parking space must be ot least 12 feet (3658 mm) wide, shall be marked to
define the width, and shall have an adjacent access aisle complying with 502.3.

502.3 Access Aisle. Access aisles serving parking spaces shall comply with 502.3. Access aisles shall adjein-an
accessible route. Two parking spaces shall be permitted to share a common access aisle. Parking GCcess aisles
must be part of an aecessible route to the building or facility entrance. Access aisles must be placed adjacent to
accessible parking spaces. All spaces must be located on an accessible route that is ot least 44 inches (1118 mm)
wide so that users are not compelled to walk or wheel behind parked vehicles except behind his or her own
vehicle. EXCEPTION: Access aisles are not required for on-street parallel parking.

Advisory 502.3 Access Aisle. Accessible routes must con nect porking spaces ta accessible entrances. In parking
facilities where the accessible route must cross vehicular traffic lanes, ma rked crossings enhance pedestrian

safety, particularly for people using wheelchairs and other mobility aids. Where possible, itis preferable that the
accessible route not pass behind parked vehicles.

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full length of parking épace

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marked

Figure 502.3 Parking Space Access Aisle
502.3.1 Width, Access aisles serving car and van parking spaces shall be 60 inches (1525 mm, } wide minimum.
502.3.2 Length. Access aisles shall extend the full length of the parking spaces they Serve.
502,3.2 Morking. Access aisles sholl be morked so os to discourage parking in them.

Advisory - FACBC 502.3.3 Marking. Florida law, s.553.5042(S){c }1,, requires diagonal striping of access aisles,
Because these requirements permit the van access aisle to be os wide asa parking space, it Is important that the
aisle be-clearly marked.

502.3.4 Location. Access aisles shall not overlap the vehicular way. Access aisles sholl be permitted to be ploced
on either side of the parking space except for angled van parking spaces which shall have access aisles located on
the passenger side of the parking spaces.

Advisory 502.3.4 Location. Wheelchair lifts typically are installed on the passenger side of vans. Many drivers,
especially those who operate vans, find it more difficult ta back into parking spaces than to back out into
comparatively un restricted vehicular lanes. For this reason, where a van and car share an access aisle, consider
locating the van space $0 thot the access aisle is on the passenger side of the van space.

502.4 Floor or Ground 5 urfaces. Parking spaces and access aisles serving them shall comply with 302, Access
gisles shall be at the same level as the parking spaces they serve. Changes in level are not permitted. EXCEPTION:
Slopes not steeper than 1:48 shall be permitted.

Advisory 502.4 Floor or Ground Surfaces. Access aisles are required to be nearly level in all directions to provide a
surface for wh eelchair transfer to and from vehicles. The exception allows sujpicient slope for drainage. Built-up
curb ramps are not permitted to project into access aisles and parking spaces becouse they would create slopes
greater than 1:48.

502.6.1 Each such parking space must be striped ina monner thot ig consistent with the standards of the
controlling jurisdiction for other spaces and prominently outlined with blue paint, and must be repainted when
necessary, to be clearly distinguishable as a parking space designated for persons who have disabilities. The space
must be pasted with a permanent obove-grade sign ofa color and design appro ved by the Department of
Transportation, which is placed on or at least 60 inches (1525 mmjabove the finished floor ar ground surface
measured to the bottom of the sign and which bears the fn ternotional symbol of accessibility and the caption

“PARKING BY DISABLED PER MIT ONLY."Such a sign, erected after October 1, 1996, must indicate the penalty for
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illegal use of the space. Any provision of this section ta the contrary notwithstanding, in a theme pork or an
entertainment complex as defined in Section 509.013 in which oecessible parking is lo cated in designated lots or
areas, the signage indicating the lot os reserved for accessible parking may be located at the entrances to the lot
in lieu of a sign at each parking place.

Advisory 502.6 Identification. The required “van accessible" designation Is intended to be informative, not
restrictive, in identifying those spaces that are better suited for van use. Enforcement of motor vehicle laws,
including parking privileges, isa local matter.

502.7 Relationship to Accessi. ble Routes. Parking spaces and access aisles sholl be de signed so that cars and vans,
when parked, cannot obstruct the required clear width of adjacent accessible routes.

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Accessible Parking Spaces

(as described = FDOT Standards}

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SECTION B:
» 405.2 Slope. Romp r
sites, buildings, and focilities, ramps shall
complying with Table 405.2 where such slopes are nece.

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be permitted to Rove running slop
ssary due to space limitations.

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m Ramp Slope and Rise for Existing Sites, Buildings, and Facilities

Table 405.2 Maximu

Slope" Maximum Rise

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Publix Supermarket
ADA Inspection Report

Steeper than 1:10 but not steeper than 1:8 3 inches (75 mm)

Steeper than 1:12 but nat steeper than 1:10 6 inches (150 mm)
1. Aslope steeper than 1:8 is prohibited.
» 406.2 Counter Slope. Counter slopes of adjoining gutters and road surfaces imm ediately adjacent to the curb

ramp shall not be steeper than 1:20. The adjacent surfaces at transitions at curb ramps to walks, gutters, and
streets shall be at the same level,

SECTION C:
« 206.2.1 Site Arrival Points. At least one accessible route shall be provided within the site from
accessible parking spaces and occessible passenger loading zones, public streets and sidewalks; ana
public transportation stops to the accessible building or facility entrance they serve.

« 206.2.2 Within a Site. At least ane aecessible route shall connect accessible buildings, accessible
facilities, occessible elements, and accessible spaces that ore on the same site.

» 403.3 Slope. The running slope of walking surfaces shall not he steeper than 1:20. The cross slope of
walking surfaces shall not be steeper than 1:48.

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COMMENTS:

All modification should be done to new construction standards per the A

DISCLAIMER: _

Publix Supermarket
ADA Inspection Report

DAAG and FACBC.

ADA Compliance Specialists, Inc. is an independent consulting fi

rm specializing in advising businesses

on complying with the Americans with Disabilities Act. This inspection is independent of all parties

and is un-biased. All parties hold harmless and indemnify ADA C
employees, inspectors and agents from any damages, claims, deman
actions arising in connection with or brought by anyone regarding oF alle

concerning this report.

Respectfully Submitted,

ADA COMPLIANCE SPECIALISTS, INC.
Defense Consultants

P.O, Box 416522

Miami Beach, FL 33141

Date: November 3, 2014

if

ompliance Specialists, Inc., its
ds, legal actions or causes of

ging ADA code violations

12/2/2014 2:14:32 PM
1750 Coral Way

@N3) Aivarez BARBARA, LLP ee vas

Tak: (305) 283-7700
Fax: (305) 263-7699
www. alvarezbarbara.com

June 20, 2014

Via U.S. Mail Facsimile 480-755-6999 and email Lorraine.botello@catlin.com
Lorraine Botello

Senior Claims Examiner

Caitlin Specialty Insurance Co.

P.O. Box 8049

Scottsdale, AZ 85252

RE: Case Name : Marta Hernandez v. Publix Supermarkets
Our Client : Marta Hernandez
Date of Loss: 04/10/14
Your Insured: Commercial Douglas, LLC landlord for

Publix Supermarket
Your Claim No.: SCS-GL-140092
Our File No : 4777 -0437-00

Dear Lorraine:

This office represents Marta Hernandez, in a claim for personal injuries as 4
rasult of a serious incident that occurred on or about 04/10/14.

\We note that the insurance policy provides for $5,000 in med pay coverage.
Please allow this correspondence to serve as OUT demand that the full medpay
coverage be tendered and made payable to Alvarez & Barbara, LLP trust account. Our

firm's tax ID is XX-XXXXXXX.

We enclose the medicare ledger showing medical bills in excess of $100,000,
and said expenses are continuing and on going.

Thank you in advance for your anticipated, and prompt cooperation In connection
with this claim. | look forward to hearing from you soon. in the interim, | remain

HVAcip
Enclosure _
G:\1777-0437-O0\L\Botello med pay emand 001.doc

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jiled eae |
cps
Totals for this month $142,054.58
(for claims processed from 05/01/2014 to
05/31/2014)
Totals for 2014 $444,124.55 $53,053.23 $52,801.56 $10.02

(all claims processe

d through 05/31/2014)

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Yearly Limits - these limits give you financial protection
nce) for medical and hospital services covered

These limits tell the most you will have to pay in “out-of-pocket” costs (copays, and your coinsura
ay, but they do mot puta limit on how

much you have to p
pier 4 of your Evidence of

by the plan.
‘To learn more, please sce Cha

These yearly limits are called your
much care you can get. Some items and services will not

“out-of-pocket maximum.” They pat limits on how

count toward that maximum.

Coverage (EOC).
«Once you have reached your limit in out-of-pocket costs, you stop paying out of pocket for all services.
*You keep gettmg your covered medical and hospital services as usual, and the plan will pay the full cost for the rest of the year.

you have had $0.00 in out-of-pocket costs that count toward your $3,000.00 out-of-pocket maximum for covered Services.

As of 05/31/2014,

Remember,

Look over the information about your
claims — does it seem correct? appeal or complaint *[f you have not already paid the amount
“If you have questions or think there might «Making an appeal is a formal way of asking shown for “your share,” wait until you get
us to change our decision about your a hill from the provider.
sf you get 2 bill that is higher than the

be a mistake, start by calling the doctor's
coverage. You can make an appeal if we
amount shown for “yout share,” call us at

office or other service provider. Ask them : : :

' jain the clai deny a claim. You can also make an appeal

o explain the ¢ aim. ‘ + 1 ms :

P : : if we approve & claim but you disagree with Customer Service (phone numbers are in a
estions, call us at how much you are paying for the ttem or box on page 1).

“Tf you still have qu
Ror information about making an

Customer Service (phone numbers are in a services.
box on page 1). appeal, call ws at Customer Service (phone
numbers are in a box on page 1).

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BRENDA GONZALEZ
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002-SBSO HOSPITAL CARE/DAY 25 4/20/2014 $190.00 $77.97 $76.41 $0.00 “
MINUTES (billing code 99232)
TOTALS: $380.00 $155.94 $152.82 $0.00

: : BIMIGGN Cosist , at ‘plan lane Snrovedgels eramtirgpeielieey share a pinnae
001-ANES-OPEN/SCOPE HUM 4/18/2014 $2,755.00 $544.95 $534.05 $0.00

HEAD&NCK SC AC&SHLDR JINT;NOS
(billmg code 01630)

002-ART CATH/CANNULAT 4/18/2014 $400.00 $58.93 $57.75 $0.00
SAMPLING MON/TRANSFUS-SP;
PERO (billing code 36620)

003-US GUID NDLE PLCMT IMAGING 4/18/2014 $300.00 336.78 53644 50.00
SUPERVIS&INTEPR (billing code
76942)

TOTALS: $3,455.00 $640.66 $627.64 $0.00

Gina

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POCTORS ANESTHESIA ASSOC
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001-INJECTION ANESTHETIC AGT;
BRACHIAL PLEXUS SINGLE (billing
code 64415)

$500.00 $73.94 $72.46 $0.00

TOTALS:

HOSPITAL

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L ERM e eee es gee : E
001-ROOM & BOARD - PRIVATE 4/10/2014 $13,
(MEDICAL OR SURGICAL OR GYN
(billing code 1 11)
003-PHARMACY - GENERAL 4/10/2014 $7,637.00 £0.00 50.00 $0.00
CLASSIFICATION (billing code 250)
o04-PHARMACY - IV SOLUTIONS 4/10/2014 $201.00 $0.00 $0.00 $0.00
(billing code 258)
005-MEDICAL/SURGICA. SSUPPLIES 4/ 10/2014 $9.223,00 §0.00 $0.00 $0.00
AND DEVICES _NON-STERIL (billing
code 271)
006- MEDICAL/SURGICAL SUPPLIES 4/ 10/2014 $4,957.00 $0.00 $0.00 $0.00
AND DEVICES - STERILE SU (billing
code 272)
007- MEDICAL/SURGICAL SUPPLIES 4/ 10/2014 $12,340.00 50.00 $0.00 $0.00
AND DEVICES - OTHER IMPL (billing
code 278)

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008-LAB - GENERAL $36.00 nt). $0.00
CLASSIFICATION (billing code 300)
009-LAB - CHEMISTRY (billing code 4/10/2014 $5,469.00 $0.00 $0.00 $0.00
301)
010-LAB - HEMOTOLOGY (billing code 4/10/2014 $1,220.00 $0.00 $0.00 $0.00
305)
011-LAB - UROLOGY (billing code 307) 4/10/2014 $164.00 50.00 $0.00 50.00
012-RADIOLOGY / DIAGNOSTIC 4/10/2014 $5,745.00 $0.00 $0.00 $0.00
XRAY - GENERAL CLASSIFICATI i
(billing code 320)
013-RADIOLOGY / DIAGNOSTIC 4/10/2014 $1,770.00 $0.00 50.00 $0.00
XRAY -CHEST (billing code 324)
014-NUCLEAR MEDICINE - 4/10/2014 $4,665.00 $0.00 $0.00 0.00
DIAGNOSTIC (billing code 341)
O1S-NUCLEAR MEDICINE - 4/10/2014 $1,347.00 $0.00 $0.00 $0.00
DIAGNOSTIC (billing code 343)
016-RADIOLOGY / CAT SCAN - HEAD 4/10/2014 $3,459.00 $0.00 $0.00 $0.00
SCAN (billing code 351)
017-RADIOLOGY / CAT SCAN - BODY 4/10/2014 $5,964.00 $0.00 $0.00 $0.00
SCAN (billing code 352)
018-OPERATING ROOM SERVICES 4/10/2014 $29,366.00 $0.00 $0.00 $0.00
(billing code 360)
019-ANESTHESIA - GENERAL 4/10/2014 $5,926.00) £0.00 $0.00 $0.00

CLASSIFICATION (billing code 370)

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620-RESPIRATORY SERVICES - $0.60
GENERAL CLASSIFICATION (billing

code 410)

021-PHYSICAL THERAPY -GENERAL 4/10/2014 $320.00 $0.00 $0.00 $0.00.
CLASSIFICATION (billing code 420)

022-PHYSICAL THERAPY - 4/10/2014 $385.00 £0.00 £0.00 $0.00
EVALUATION OR RE-EVALUATION

(billing code 424)

023-EMERGENCY ROOM-GENERAL 4/1 O/2014 $2,804.00 £0.00 $0.00 $0.00
CLASSIFICATION (billing code 450)

024-CARDIOLOGY - GENERAL 4/10/2014 $4,378.00 0.00 $0.00 $0.00
CLASSIFICATION (billing code 480)

025-RECOVERY ROOM (billing code 4/10/2014 $2,072.00 $0.00 $0.00 $0.00
710)

026-EKG/ECG 4/10/2014 $1,245.00 $0.00 $0.00 $0.00
(ELECTROCARDIOGRAM) - GENERAL

CLASSIFICATION (billing code 730)

027-CONTRACTED HOSPITAL 4/10/2014 $0.00 $48,019.08 $48,019.08 $0.00
PAYMENT

002-ROOM & BOARD - INTENSIVE 4/18/2014 $8,408.00 $0.00 $0.00 $0.00

$42,019.08 $46,019.06 $0.00

TOTALS: $126,366.00

*

CARE - POST ICU (billing code 206)

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001L-EMERGENCY DEPT VISIT HIGH 4/10/2014 $920. 00 $192.11 $188 a] ~ $0.00
SEVERITY & THREAT FUNC (billing

code 99285)

TOTALS: $920.00 $192.11 $188.27 $0.00

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001 “OFFICE OUTPATIENT VISIT 25 aad $250.00 $104.37 “$102.28 $0.00
MINUTES (billing code 99214)
TOTALS: $250.00 $104.37 6102.28 $0.00

EDUARDO So Se

o01- Caeeraae EXAM SHLDR; 4/21/2014 " $100. 00
COMPLETE MINI 2 VIEWS (billing code
73030)

TOTALS: $100.00 $31.78 $31.14 30.00

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EDUARDO GONZALEZ HERNANDEZ

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001-OPEN TX PROX HUM FX

INTRL/EXT FIX REPR TUBR (billing

code 23615)

002-REP RUPTURED {18/2014 $2,900.00 $441.22 $432.40 $0.00
MUSCULOTENDINOUS CUFF OPEN;

ACUTE (billing code 23410)

TOTALS: $5,225.00 $1,393.31 $1,365.45 $0.00

JORGE

a a
901-OPEN TX PROX HUM FX W/WO 4/18/2014 $697.50 $143.87 $140.98 $0.00

INTRL/EXT FIX REPR TUBR (billing

code 23615)

002-REP RI JPTURED 4/18/2014 $870.0 $66.07 $65.3 $0.00
MUSCULOTENDINOUS CUFF OPEN;

ACUTE (billmg code 23410)

TOTALS: $1,567.50 $210.54 $206.33 $0.00

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001-OFFICE OUTPATIENT VISIT 25 4/25/2014

MINUTES (billing code 99214)

002-ECG ROUTINE ECG W/AT LEAST 4/25/20! 4 $25.00 $14.77 $14.47 $0.00
12 LEADS: WA&R. (billing code 93000)

TOTALS: $200.00 $107.55 $105.39 $0.00

001-CULT BACTERL; 5/1/2014

W/ISOLAT&PRESUMP ID ISOLATES
URINE (billing code 87088)
002-CULTURE BACTERIAL, 5/1/2014 $5841 $11.01 $10.79 $0.00
QUANTITATIVE COLONY CNT URINE
(billing code 87086)
003-BLOOD COUNT; COMPLETE §/1/2014 $40.51 $8.83 $8.65 $0.00
AUTOMATIC (billing code $5027)
004-UA DIP STICK/TABLET REAGENT; 5/1/2014 $45.76 $4.32 $4.23 $0.00
AUTO W/MICRO (billing code 6 1001)
905-COLLECTION OF VENOUS 5/1/2014 $20.55 $3.00 $2.94 $0.00

BLOOD BY VENIPUNCTURE (billing
code 36415)

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$125.47

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URETIC PEPTIDE (billing 5/1/2014 $184.95 $46.31
$13.89 $13.61 $0.00

iGI ADATION 5/1/2014
mR; O JAN (milling
: 1 aie rat eae FT
$433.02

SOUTH FLORIDA

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001 _RADIOLOGIC EXAMINATION $45.00

SPINE; THORACIC 3 VIEWS (billing

code 72072)

TOTALS: $45.00 $11.82 $11.58 $0.00

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001-RADIOLOGIC SSCANONATION ¢
KNEE: THREE VIEWS (billing code
73562)

002-CMPT TOMOGRPH HEAD/BRAIN:
W/O CONTRST MATERIAL (billing
code 70450)

$47.00 ple. $12.04

$203.00 $45.84 $44.92 30.00

003-RADIOLOGIC EXAMINATION
CHST: SINGLE VIEW FRONTAL
(billing code 71010)

$41.00 $10.02 $9.82 50.00

TOTALS:

$291.00 $68.15 $66.78 $0.00

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001-CMPT TOMOGRAPHY THORAX, 4/17/2014
WITHOUT CONTRST MATERIAL
(billing code 71250)

$235.00 $55.13 $54.03 $0.00

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TOTALS:

RADIOLOG

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001-RADIOLOGIC EXAMINATION 4/1.Of201 $47.00 $12.29
KNEE; THREE VIEWS (billing code

73562)

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002-RADIOLOGIC EXAMINATION 4/13/2014 $41.00 $10.02 $9.82 $0.00
CHST; SINGLE VIEW FRONTAL
(billing code 71010)

TOTALS:

$88.00 $22.31 $21.86 $0.00

RADIOLOGY ASSOCIATES OF SOUTH FLORIDA

001-PULMONARY VENTILATION (EG; 4/15/2014 $56.92 $55.78
AEROSOL OR GAS) AND PERFUSION
IMAGING (billing code 78582)

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001 Sanne 1C EXAMINATI ON 4/15/2014 $41.00
CHST:; SINGLE VIEW FRONTAL
(billing | code 71010)
SN 2 ji Sa 3 ie
TOTALS: : $41.00 $10.02 $9.82 $0.00

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TREDIOL OGIC EXAMINATION 41672014 $38.00
HAND; MINIMUM THREE VIEWS
(billing code 73 130)
Ae el ads ee 2 ee
$38.00 $9.66 $9.47

TOTALS:

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i Ha Eanes SR SAGE Was

001-RADIOLOGIC EXAMINATION 4/15/2014
ABD: SINGLE AP VIEW (billing code

: $10.02
DENIED This service was denied, but
(Look below for you may be responsible ‘for

74000)
information about paying this amount. Look
your appeal below for information about
rights.) your appeal rights.
$45.00 $10.02 $0.00 $10.02

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“We have denied all or part of th «When we deny part or all of a claim,

you have the right te appeal. Malang an send you a letter (“Notice of Denial of your appeal, you can contact:

appeal is a formal way of asking us to Payment”) explaining why the service or — Our Customer Service (phone numbers
change the decision we made to deny your item is not covered. This letter also tells are ina box on page 1)

claim. If we agree to change our decision, it what to do if you want to appeal our — 1-800-MEDICARE (1-800-633-4227).
means we Will approve the claim rather decision and have us reconsider. 24 hours a day, 7 days a week.

than deny it, and we will pay our share. “IMPORTANT: If you do not have this
-The provider can also make an appeal, letter, call us at Customer Service (phone

and if this happens, you may not have to numbers are in a box on page 1).

pay. You may wish to contact the provider
to find out if they will ask us for an appeal.
If the provider properly asks for an appeal,
you will not be responsible lor payment,
except for the normal cost-sharing amount,
and you don’t need to make an appeal
yourself.

CIATES OF SOUTH FLORIDA
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001-RADIOLOGIC EXAM SHLDR; 4/10/2014 $48.00 $12.29 $12.04 $0.00
COMPLETE MINI 2 VIEWS (billing code

73030)

TOTALS: $43.00 $12.29 $12.04 $0.00

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001-CMPT TOMOGRPH UPPER 4/11/2014 $242.00 $56.31 $55.18

EXTREM; W/O CONTRST MATERIAL
(billing code 73200)

TOTALS: $242.00 $56.31 $55.18 $0.00

ONE E ROJAS”

001-INITIAL HOSPITAL CARE/DAY 70 4/10/2014 $428.30 $275.00 $275.00. $0.00
MINUTES (billing code 99223)
TOTALS: $426.30 $275.00 $275.00 $0.00

001-INITIAL HOSPITAL CARE/DAY 50 4/15/2014 $375.00 $152.72 $0.00

DENIED

(Look below for
information about
your appeal
rights.)

$375.00 $152.72 $0.00 $0.00

MINLTES. (bilimg code 99222)

TOTALS:

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you can contact:

“If you have questions,
ce (phone numbers are mn a

box on page 1)

we of this claim. However, you

*NOTE: We have all or
are not responsible for paying the billed amount because you __ Our Customer Servi
received this service from a Medica Healthcare Plan provider OR _ 1.800-MEDICARE (1- 900-633-4227), 24 hours 4 day, 7 days a
from a Medica EH Healtheare Plan provider. week. Jae iis e3ils «al

based on a referral

001-SBSQ HOSPITAL Deiges DAY 35 4/17/2014 $260.00 $112.
‘MINUTES (billing coe code 9 99: 1233)
“TOTALS: $260.00 $112.02 $109.78 $0.00

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09/13/2014
ALVAREZ BARBARA, LLY
1750 Coral Way
Second Floor

Miami, Florida 33145

Medica Healthcare Plans Tne. 15 3 Medicare Advantage (“MA”) HMO with a contract
with the Centers for Medicare and Medicaid. The purpose of this letter 15 9 advise you
ity of the Medicare Secondary Payer Laws (“MSP”). Per 42 U.S.C.
1395y (b) 2) and.1 862 w)2(N@) of the Social Security Act (the *Act”), Medicare is
recluded from paying for @ peneficiaxy § medical expemses when payment “has been
made or can reasonably be expected to pe made under a Workers’ Compensation plan,
automobile oF liability insurance policy oF plan (including @ self-insured plan) oF under
no-fault insurance.” Howevel, Medicare may pay for 4 beneficiary 5 covered medical
expenses conditioned on seimbursement to Medicare from proceeds received pursuit @
third party liability settlement, award, judgment oT recovery. Tbe above mentioned Act is
applicable to Medicare Advantage plans through 42 CFR § 422.108(a)» which equally
precludes Medicare Advantage plans from paying for & beneficiary § medical expens*s
when it is mot primary: Subsection (£) notes “the rules established under this section
supersede any State laws, regulations, contract requirements, OF other standards that
would otherwise apply to MA plans. 4 State cannot take away an MA organization's
right under Federal law and the MSF regulations. -- The MA organization will exercise
the same rights to recover from 4 primary plan, entity, of individual that the Secretary
exercises under the MSF regulations...

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2014 3:38PM No. 6324 fF

In these instances, Medica Healthcare Plans Inc.’s reimbursement is reduced by a pro rata
share of procurement costs. It is in your and yout client’s best interest to keep Medica
Healthcare Plans Inc.’s payment and the obligation, to satisfy Medica Healthcare Plans
Inc. claim in mind when negotiating and accepting a final dollar amount in settlement of
the claim with the third party. Medica Healthcare Plans Inc.’s claim must be paid up front
out of settlement proceeds before any distribution occurs. Moreover, Medica Healthcare
Plans Inc. must be paid within 60 days of receipt of proceeds from the third party. Interest
may be assessed, if Medica Healthcare Plans Inc. is not repaid in a timely manner,
Repayment of Medica Healthcare Plans Inc.’s conditional payments must be made to
Medica Healthcare Plans Inc. and communications are to be handled through me, the
Coordination of Benefits (“COB”) Analyst handling this case.

This shall serve as formal notice that, upon settlement of this matter, Medica Healthcare
Plans Inc, wishes to exercise its subrogation rights to participate in the proceeds from the
settlement in order to cover the medical services provided to Marta Hernandez.

Kindly keep me updated as to the progress of the cas¢ and any settlement awarded to
Marta Hernandez.

[If you have any questions, please do not hesitate to contact me at 305-670-8440
Ext, 1899 or 1259.

Sincerely,

Coordination of Benefits Analyst
Medica Healthcare Plans Inc.

Doc #: MHP00039_20140403

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“Spear o GnrLareoren ot Weenos (aati 2 wae [a eda [FPATIONT Hos ile apt
ali yan fa Trew fea AINE reororreaa Bann |”
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Coordination of
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August 21, 2014 199.9-GY 37

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MARTA R HERNANDEZ

9504 SW 89TH PL

MIAMI, FL 33176-9506

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SUBJECT: Medicare Secondary Payer Rights and Responsibilities
Beneficiary Name: HERNANDEZ, MARTA R
Medicare Number: 395440233D
Case Identification Number: 20142 26090 01259
Date of Incident: April 10, 2014

Dear MARTA R HERNANDEZ:

You are receiving this letter because we were notified that you filed a liability insurance (including
self-insurance), no-fault insurance, oF workers’ compensation claim. This is confirmation that a
Medicare Secondary Payer (MSP) recovery case has been established in our system.

If we know that you have a lawyer or other person representing you, we have sent him or
her a courtesy copy of this letter and you will see him or her listed as a “cc” at the end of
this letter.

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This letter gives you information on the following:

What happens when you have Medicare and file an insurance or workers’ compensation claim;
What information we need from you,

What information you can expect from us and when;

4 How and when you are able to elect a simple, fixed percentage option for repayment,

5 How and when you are able to self-calculate Medicare’s conditional payment amount, and

6. How to contact us.

What Happens When You Have Medicare and You file a Liability Insurance (including

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Page | of 5

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Self- Insurance), No-Fault Insurance, Or Workers’ Compensation Claim

Applicable Medicare law says that liabilityinsurance (including self-insurance), no-fault insurance,
and workers’ compensation must pay for medical items and services before Medicare pays. This
law can be found at 42 U.S.C. Section 1395y(b)(2)(A) and (B).

However, Medicare makes “conditional payments” while your insurance or workers’
compensation claim is being processed to make sure you get the medical services you need when
you need them. If you get a(n) insurance or workers’ compensation settlement, judgment, award,
or other payment, Medicare is entitled to be repaid for the items and services it paid for
conditionally.

If you receive a settlement, judgment, award, or other payment related to this claim and Medicare
determines that it has made conditional payments that must be repaid, you will get a demand
letter. The demand letter explains how Medicare calculated the amount it needs to be repaid and it
also explains your appeal and waiver rights. If you decide to appeal or request a waiver of
recovery, Medicare will not take any collection action while your appeal or waiver of recovery
request is being processed. Please note, however, that interest will continue to accrue on any

unpaid balance.

What Information We Need From You

e Do you have a lawyer or other person representing you?

Medicare works to protect your privacy. We are not allowed to communicate with anyone
other than you about your MSP case unless you tell us to do so. If you have a lawyer or
other person representing you, please see the enclosed brochure. It explains what type of
information we need from you in order to work directly with your lawyer or
representative.

e Is the information we have on your claim correct?
If the information at the top of this letter is incorrect or if you filed a no-fault insurance or
wotkers’ compensation claim and do not see the insurér/carrier listed as a “cc” at the end

of this letter, please contact the Benefits Coordination & Recovery Center (BCRC)
immediately at 1-855-798-2627,

e Has your insurance or workers’ compensation claim already been resolved?

If you already got a settlement, judgment, award, or other payment, we need the following
information:

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Page 2 of 5

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o ‘The date and total amount of your settlement, judgment, award, or other payment,

o A list of the attorney fees and other costs that you had to pay in order to get your
settlement, judgment, award, or other payment.

If your insurance or workers’ compensation claim was dismissed or otherwise closed, we
need documentation of that so that we are able to close your MSP case.

What Information Can You Expect From Us and When

© Medicare’s Conditional Payment Amount

Our system will automatically send you a Conditional Payment Letter within 65 days of
the date on this letter. It includes a Payment Summary Form, which lists medical items and
services Medicare has paid for that we believe are related to your claim. Keep in mind that

this list is not final or complete until your insurance or workers’ compensation claim is
resolved.

if you would like the most up-to-date claims information, please visit
www. MyMedicare.gov. Once your letter is issued, you will be able to access conditional
payment amount information through the MyMSP tab, as well as current claims
information using the MyMedicare.gov “blue button.”

How to Elect a Simple. Fixed Percentage Option For Repayment [f You Have Experienced
a Physical Trauma-Based Injury

If you experienced a physical trauma-based injury and you get a liability insurance settlement,
judgment, award, or other payment of $5.000 or less, Medicare offers the option to pay 25.000%
of your gross settlement, judgment, award, or other payment, instead of the amount that Medicare
would otherwise calculate.

If you wish to choose this option, you must formally elect it at the same time that you send
us information on your settlement, judgment, award, or other payment. Please visit the
Beneficiary (http://go.cms.gow/beneficiary ) or Attomey (http://go.cms. gov/attorney) sections of
the Benefits Coordination & Recovery Center (BCRC) Website for all of the additional details.
You will find model language that can be used to elect this option, as well as a special mailing
address to ensure efficient processing.

How and when you _can_self-calculate Medicare’s Final Conditional Payment Amount
before settlement.

If you experienced a physical trauma-based injury, can demonstrate that treatment has been

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completed, and you expect
Conditional Payment Amount to help us expedite your Case.
(http://go.cms.gov/beneficiary)
Coordination & Recovery

a

Center

How You Can Contact Us

Please mail any documents to:

NGHP
PO BOX 138832

OKLAHOMA CITY, OK 73113

to get a settlement of

or Attorney (http://
(BCRC) Website

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$95,000 or less, you may calculate Medicare's

Please visit the Beneficiary

go.cms.gov/attorney) sections of the Benefits
for all of the

additional details.

or fax documents to 405-869-3309. A special mailingaddress is required for the Fixed Percentage
and Self-identified options (see www.CMs.z0¥)

For more information, please visit WWW.

hearing or speech impaired: 1-855-797-2627).

Sincerely,
BCRC

Enclosures:

Benefits Coordin
Correspondence Cover Sheet

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Correspondence Cover Sheet

Beneficiary’s Name: HERNANDEZ, MARTA R
Medicare Number: 395440233D
Date of Incident: April 10, 2014

Case Identification Number: 20142 26090 01259

This cover sheet is for your use when mailing or faxing in correspondence to the Benefits
Coordination & Recovery Center (BCRC). Please retain a COPY of this cover sheet for any

future correspondence. The information above will ensure accuracy when handling your case
documentation.

Please indicate the type of correspondence you are submitting to the BCRC to facilitate routing.
Check all that apply:

[] Check
[J Settlement information
[] Retainer agreement or other authorization documentation

C] Other

Note: A Conditional Payment Letter 1s sent automatically within 65 days of this letter, or as soon
as the information is available. Separate requests for initial Conditional Payment Amounts
will not make Conditional Payment information available sooner.

In order to accurately associate claims to your case, please include a description of the injury.
(i.e.: Knee, Physical Therapy, Slip and Fall, Lumbar Injury...)

Submit correspondence to the BCRC address listed below:

Liability Insurance or No Fault Insurance Workers’ Compensation:

NGHP

PO BOX 138832

OKLAHOMA CITY, OK 73113
405-869-3309

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Sedgwick Claims Management Services, Inc.

To

Fax Number: 5052637699

From: Lingenfelter, Andrew

Fax Number

Date: November 03, 2014

Subject Claim -30747883948-0001 - MARTA HERNANDEZ - Date of Loss: O4/0/2014 - GL
Memo

RE eoount Publix Super Markets, Inc

Claimant HERNANDEZ, MARTA
Claim Ne: 90142882049-00%
Date'ofLoss: 4N 0/2074

Dear Hugo Alvarez,

As you ane awale, We SSivice liability claims on behalf of Publix Super Markets, inc.
We have completed our invesigaton of this matter and find no adverse fabilily agains
Pubic Super Markets, Inc

To that extent, we deny any and all claims arising out of this incident and are now closing
our fe.

Sincerely,

Andrew G, Lingentetter

Claims Representatve

Sedgwick Claims Management Senices, inc
Phone: 883-499-8521 x BBGTS

Fae 659-264-4067

E-mail: Andtew.Lingentelteniisedgwickems.com

The infonmation transmitted is inlended only for the person or enbty to which its addmssed and may contin
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OF

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original message to us at the address above by the United States Postal Service.

EXHIBIT

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PO Box 849

September 29, 2014 Scottsdale AZ 85202

Telephone 480 755 6700

Fax 480 755 6999

Alvarez Barbara LLP

Atm: Hugo Alvarez

1750 Coral Way, Second Floor
Miami, FL 33145

RE: Claim No.: SCS-GL-140092
Insured: Commercial Douglas LLC
Date of Loss: April 10, 2014
Your Client: Marta Hernandez

Dear Mr. Alvarez.

This will confirm our receipt of your demand letter and package dated September 10, 2014 received in
our office on September 15, 2014.

Please be advised that based on our investigation to date and our review of the medical documentation
provided in your demand, we do not find our insured legally liable for yout client’ s fall or her injuries.
You mention that the slope of the parking lot is in violation of the ADA, and yet you do not provide any
proof and/or documentation regarding the alleged violations. Furthermore, based on the medical
documentation you included with your Gemand that includes records from Doctor's Hospital, itis clear
that your client’s fall had nothing to do with the slope of the parking lot, but rather due to your client's
poor decision to go after her cart and while reaching for the cart she missed it entirely which caused her to
fall. Your client’s fall was solely due to her own fault. It is very clear from the hospital records that your
client was suffering from poor health prior to her fall. Your client's surgery was delayed because she was
diagnosed with hypoxemia, atelectasis anc cardiomyopathy. These conditions were clearly pre-ex isting
and were in no way related to her injuries from this incident. Your client’s poor health condition could
very well have been the underlying cause of her fall in the first place. Again it would appear that this was
an unfortunate accident through no fault of our insured. In the absence of legal liability, we woule not be
justified in making any offers of settlement.

Again we are offering our insured’s Medical Payments coverage which has a limit of $5,000. This
coverage pays for medical expenses regardless of fault for injuries that occur on the premises and
provided the expenses art incurred and reported to us within one year from the date of the accident. We
have previously requested that you provide us with a copy of your firm’s W9 and instructions on how you
would like the medical payments check issued since Medicare 1s involved. To date you have not
responded nor have you provided us with a copy of your W9 form. Please contact me at the number

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$C8-GL-140092 Commercial Douglas LLC

below and advise if you would like the check issued to Alvarez Barbara LLP
Medica Healthcare Plans Inc.

Sincerely,

Sorrenrns, FEM
Lorraine Botello
Senior Claims Examiner
Catlin Specialty Insurance Co.
lorraine. botello@catlin.com
(480) 755-6732 Phone
(480) 755-6999 Fax

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